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                                      #:5755




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13
                             UNITED STATES DISTRICT COURT
14
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16
     LUIS LORENZO VARGAS,                                 Case No. 2:16-cv-08684-SVW-AFM

17
                            Plaintiff, DECLARATION OF BRETT
                                       BOON, Esq. IN SUPPOT OF
18
              v.                       PLAINTIFF’S REPLY IN
                                       SUPPORT OF MOTION TO
19
                                       PERMIT EXPERT TESTIMONY
     CITY OF LOS ANGELES; LOS          AND OPINION
20
     ANGELES POLICE
     DEPARTMENT; COUNTY OF LOS HON. STEPHEN V. WILSON
     ANGELES; OFFICE OF THE LOS
21   ANGELES DISTRICT ATTORNEY; CTRM 10A
22
     LOS ANGELES SHERIFF’S
     DEPARTMENT; MONICA                Date:            June 10, 2019
     QUIJANO; RICHARD TAMEZ;
23   SCOTT SMITH; AND DOES 1-10        Time:            1:30 pm
24
     INCLUSIVE,                        Complaint Filed: November 12, 2016
                                       Trial Date:      June 25, 2019
25
                         Defendants.

26
     ________________________________________________________________________________________________________
                                                       ___
27                                                                                     Page 1 of 3
     DECLARATION OF BRETT BOON
28
     Case 2:16-cv-08684-SVW-AFM Document 214-1 Filed 05/27/19 Page 2 of 3 Page ID
                                      #:5756




 1   I, BRETT A. BOON, declare and state as follows:

 2
        1. I am over the age of 21 and not a party to this action. I am one of the
 3
            attorneys of record representing Plaintiff LUIS LORENZO VARGAS.
 4
        2. I make this declaration based on my personal knowledge. For those matters
 5
            which I lack personal knowledge, I make them based on information and
 6
            belief. If called to testify, I would competently testify to each matter set forth
 7
            herein.
 8
        3. Upon disclosure of Plaintiff’s experts in the first week of May I personally
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            contacted Mr. Geoffrey Plowden, counsel for Defendants, to advise that on
10
            June 6, 2019 Plaintiff’s expert Mr. Hermansen would be moving out of state
11
            making his deposition very difficult, and inquiring whether Defendants
12
            wished to depose Plaintiff’s experts beforehand. Mr. Plowden responded that
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            Defendants would not seek to take any such depositions until the Court rules
14
            on the expert’s admissibility. No fewer than four other depositions have
15
            been scheduled in this case since I first made the aforementioned inquiry,
16
            three of which were noticed by Mr. Plowden. Defendants have had ample
17
            opportunity to depose Plaintiff’s experts.
18
        4. Pursuant to Local Rule, I personally attended a pre-trial meeting in this
19
            matter on May 14, 2019 with Mr. Plowden and Ms. Surekha Shephard, also
20
            counsel for Defendants. At this meeting, Mr. Plowden asked whether Exhibit
21
            Number 3 to my Declaration in Support of Plaintiff’s Expert Motion was
22
            intentionally the Ninth Circuit decision in Mellen v. Winn. I not only
23
            confirmed as much, but reiterated the importance of this decision on the
24
            admissibility of Mr. Clark’s expert opinions. Defendants’ Opposition to the
25
26
     ________________________________________________________________________________________________________
                                                       ___
27                                                                                     Page 2 of 3
     DECLARATION OF BRETT BOON
28
     Case 2:16-cv-08684-SVW-AFM Document 214-1 Filed 05/27/19 Page 3 of 3 Page ID
                                      #:5757




 1          Plaintiff’s Expert Motion was not filed until May 20, 2019, but nonetheless
 2          does not address the Mellen decision.
 3

 4          I declare under penalty of perjury under the laws of the state of California
 5   that the foregoing is true and correct. Executed on May 27, 2019 in San Diego,
 6   California.
 7

 8                                          /s/ Brett A. Boon
                                            Brett A. Boon, Esq.
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27                                                                                     Page 3 of 3
     DECLARATION OF BRETT BOON
28
